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                               UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                                CASE NO.      12CR~228-WQH


                               Plaintiff,                                   D\                    •r   I




                     vs.                                 JUDGMENT OF DISMISSAL
ERIC LEITZKE (4),

                               Defendant.


           I T APPEARING that the defendan t is now entitled to be discharged
f or the reason that:

       a n indictment has been filed in another case against the defendant and
       t h e Co u rt has granted the motio n of th e Government f or dismissal of
       this case, without prejudice; or

       the Court has dismissed the case for u n necessary delay; or

__
 X__ the Court has g ranted the motion of the Governmen t                            for dismissal,
     wi t hout prej u dice; or

       the Co u rt h as granted the motion of the defendant for a j udgment of
       acqui tt al; or

       a j u ry has been waived, and the Cour t has found the defendant no t
       g ui lty; or

       the ju ry has returned its verdict, finding the defendant not gui l ty;

__
 X__ of the offe n se (s ) as charged in the Indictment:

21 :841 (a)(1) and 846 ; 21 :853(a)(I) and 853(a)(2) - Conspiracy to Possess Cocaine with Intent to Distribute;
Criminal Forfeiture




               IT IS THEREFORE ADJUDGED that the defendant is


 DATED: APRIL 23, 2014
                                                          Wi l liam
                                                          U.S. District Judge
